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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 18-3325 MWF (ASx)                                       Date: September 20, 2019
 Title       Amazon Content Services, LLC, et al. v. Set Broadcast, LLC, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER STRIKING ANSWER OF DEFENDANTS
              JASON LABOSSIERE AND NELSON JOHNSON AND FOR CLERK TO
              ENTER DEFENDANTS’ DEFAULT

         On September 5, 2019, the Court issued an Order to Show Cause (“OSC”) to
 Defendants Jason Labossiere and Nelson Johnson. (Docket No. 62). Pursuant to
 the OSC, by no later than September 18, 2019, Defendants Labossiere and Johnson
 were ordered to provide their full mailing addresses and telephone numbers, and
 optionally, their email addresses. Defendants were further ordered to show cause
 why the Court should not strike their Answer to Complaint (filed June 18, 2018,
 Docket No. 18) and order the immediate entry of default for failure to participate in
 the litigation of this matter. The OSC was mailed to Defendants at the address of
 record for Defendant Nelson.

        The Court has not received any response to the OSC. Therefore, the Court
 now ORDERS the Clerk of Court to (1) strike the Answer of Defendants
 Labossiere and Johnson (Docket No. 18); and (2) immediately enter default as to
 Defendants Labossiere and Johnson. On or before October 7, 2019, Plaintiffs
 shall file a Motion for Default Judgment.

         IT IS SO ORDERED.

                                                                          Initials of Preparer: RS/sjm




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